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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



Julianne Zappa,
                                                    Case No. 20-cv-10729
                    Plaintiff,
                                                    Paul D. Borman
v.                                                  United States District Judge

COMMISSIONER OF SOCIAL                              Patricia T. Morris
SECURITY,                                           United States Magistrate Judge

               Defendant.
______________________________/


       ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                RECOMMENDATION (ECF No. 8)


      Now before the Court is the September 1, 2020 Report and Recommendation

of Magistrate Judge Patricia T. Morris (ECF No. 8) recommending that the Court

Dismiss with prejudice Plaintiff’s Complaint for failure to prosecute pursuant to Fed.

R. Civ. P. 41(b).

      Having conducted a review of the Magistrate Judge’s Report and

Recommendation and there being no timely objections under 28 U.S.C. § 636(b)(1)

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and E.D. Mich L.R. 72.1(b), the Court ADOPTS the Magistrate Judge’s Report and

Recommendation (ECF No. 8) and DISMISSES the Complaint WITH PREJUDICE.

IT IS SO ORDERED.


                                          s/Paul D. Borman
Dated: November 6, 2020                   Paul D. Borman
                                          United States District Judge




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